Case 1:20-cv-21108-UU Document 33 Entered on FLSD Docket 06/01/2020 Page 1 of 6


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    Altersv.PeoplesRepublicofChina(1:20-cv-21108)DistrictCourt,S.D.FloridaJudgeUrsula rjjjréa By                     D c.
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    FederalCourt-400 North M iam iAvenue -Room 12-4 -M iam i,Florida 33128
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                                                                                                   s g 1 2222
    CommunistPartyofChina-c/o XiJinpnig,GeneralSecretaw oftheCommunistPartyofChi
    174 Chang,an Avenue Xi
                         cheng District-1000017 Beijing-P.R.China
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                                                                                                 s,D.OF FM .-MIAMI

    M ovant:David Andrew Christenson(lfIwaswrong,theywouldnothavedeclared meto beaterrorist
    in 2010.They also would nothave appointed ex Iowa U.S.Attorney and future Attorney General
    Matthew W hitakerto bemydefenseattorneywhenIwasfalselyarrested in Louisiana(Louisiana
    W arrantnotFederal)forcyberstalking FBISpecialAgentSteven Reyes.Iwasneverchargedwithacrime
    butW hitakerhadalreadydestroyed myIifebythetimeIwasableto removehim.)
    M ay 26th/ 2020


                             Em ergencyAm icus(Motionto Dismiss)
                  W E,THE UNITED STATES OFAM ERICA.ARE RESPONSIBLE FOR THE PANDEM IC

    Verysimplisticterms:SARS/COVIDI9wasthetriggerthatactivatedthe KatrinaVirusthatisdormantin
    aIIofus.70% ofAmericansthatdied andwilldie,IivedorIivewithin100milesof911/W orldTrade
    Centers/New York- Hurricane Katrina/BpOiISpill/New Orleans- ChemicalW arfare Munitions/Detroit.
    TheU.S.Governmentcertifiedthat60pluscancerscameoutofthehardenedCIA/DOD Facili       tiesinthe
    WorldTradeCenterson911.TherewereaninfinitenumberofChemicalW arfareContaminates(THE
    KATRINA VIRUS)thatcameoutofHurricane Katrinaandthe BPOi1Spillin New Orleans.

       Negligenàlv we.the United StatesofAm erica.contaminated &he W orld w ith the Peded M ilitaw
                  W eapon (Troian Horse)thatcouldactivate durin,W arwithasim pletric er.

    M ankind isfragile and easily m anipulated form oney,fame,pow erand sexwhich are also ourGods.
    Religions,Governments,the M edia,the M edicalCom m unity and the M entalHeaIth Com m unity cannot
    be trusted.

Time isofthe essence ifwe are to have a fairand impartialPresidentialElection in lessthan sixm onths.
The PresidentialElection isNovem ber3rd,2020 and ifwe don'tchangethe Narrative,we aIldie in the
next3 to 20 years.M athem atically,currentprogressions,we aIIdie.The Universew illrecord that
    Mankind committedsuicide.Thisisnotaprophecyorpredictionand i
                                                               tcertainlyisnotbiblicalbutjust
    pure m ath.

TheW orld hasto worktogetherifwe are to stop the Katrina Virus.

    Am ericanshave a Consti
                          tutionalRightto the truth and rightnow truth isasevasi
                                                                               ve as Bigfoot.
Case 1:20-cv-21108-UU Document 33 Entered on FLSD Docket 06/01/2020 Page 2 of 6


    1       y
''The fltrfnl Virus.Tim e.M cth,cOVlD19,otherGovernm ents,Chfna,Trum p.Biden.Roberts.Pelosi.
M cflrthy,schum er,M cconnell.the otherDem iqods.the m onevhlzncry and sukidqlpress.etc.will
ensure thltthe truth com esout''And now the Eatholic Church.

        Have allpartiesrespond and certifvthatthe United Statesisnotresponsible.

Blam ing China willwaste valuable time and resources.

The ClassAction Com plaintsare frivolousand political.

Attached is2ofthe 140 pagesofmy book:The Supreme CourtM urdered M ankind -W rit14-10077 -The
KatrinaVirus-By David Andrew Christenson -Novem ber8th,2015

                                     Filed in the following cases:

        UnitedStatesv.Boucher(1:18-cr-00004)DistrictCourt,W .D.KentuckyJudge Marianne0.
        BattaniFederalCourt-231W .Lafayette Blvd.,Room 252 -Detroit,M I48226
   2. UnitedStatesv.Flynn(1:17-cr-00232)DistrictCourt,DistrictofColumbiaJudgeE.Sullivan
        FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001
   3. UnitedStatesv.Stone (1:19-cr-00018)DistrictCourt,DistrictofColumbiaJudgeA.Jackson
        FederalCourt-333 Constitution Ave.N.W .-W ashington D.C.20001
   4. Grecov.PeoplesRepublicofChina(5:20-cv-02235)DistrictCourt,E.D.PennsylvaniaJudgeAnita
        Blumstein Brody FederalCourt-601 M arketStreet-Philadelphia,PA 19106
   5. Patellav.PeoplesRepublicofChina (1:20-cv-00433-TDS-JEP)DistrictCourt,M.D.NorthCarolina
        Judge ThomasD.SchroederFederalCourt-251 N.M ainStreet-W inston-salem ,NC 27101
   6. Benitez-W hitev.PeoplesRepublicofChina(4:20-cv-01562)DistrictCourt,S.D.TexasJudge
        Ewing W erleinJr.FederalCourt-515 RuskStreet-Houston,TX 77002
        StateofM ississippiv.People'sRepublicofChina(1:20-cv-00168-LG-RHW )DistrictCourt,S.D.
        M ississippiJudge LouisGuirolaJr.FederalCourt-2012 15th Street-Suite 814 -Gulfport,M S
        39501
   8. AzeleaW oodsofOuachitav.PeoplesRepublicofChina(3:20-cv-00457-TAD-KLH)DistrictCourt,
        W .D.Louisiana JudgeTerryAlvin Doughty FederalCourt-zollackson Street-Suite 215 -
        M onroe,Louisiana 71201
   9. Edwardsv.PeoplesRepublicofChina(2:20-cv-01393)DistrictCourt,E.D.LouisianaHonN.V.
        Jolivette Brow n FederalCourt-500 PoydrasStreet-New Orleans,LA 70130
   10.StateofM issouriv.PeoplesRepublicofChina(1:20-cv-00099)DistrictCourt,E.D.M issouriJudge
        Stephen Lim baugh -FederalCourt-555 Independence Street-Cape Girardeau,M O 63703
   11.Altersv.PeoplesRepublicofChina(1:20-cv-21108)DistrictCourt,S.D.FloridaJudgeUrsula
        Ungaro FederalCourt-400 North M iam iAvenue -Room 12-4 -M iam i
                                                                      ,Florida 33128
   12.BellaVistaLLCv.ThePeoplesRepublicofChina(2:20-cv-00574)DistrictCourt,D.NevadaJudge
        Jam esC.M ahan -FederalCourt-333 S.LasVegas Bl
                                                     vd -LasVegas,NV 89101
    13.BuzzPhotov.PeoplesRepublicofChina(3:20-cv-00656)DistrictCourt,N.D.TexasJudgeEd
        Kinkeade FederalCourt-1100 Com m erce St.-Room 1625 -Dallas,Texas75242
Case 1:20-cv-21108-UU Document 33 Entered on FLSD Docket 06/01/2020 Page 3 of 6



    14.CardiffPrestigeProperty,Inc.v.PeoplesRepublicofChina(8:20-cv-00683)DistrictCourt,C.D.
       CaliforniaJudge David 0.Carter-FederalCourt-411 W estFourth St.-Courtroom 9D -Santa
       Ana,CA,92701
    15.BourqueCPA s& Advisorsv.The PeoplesRepublicofChina(8:20-cv-00597)DistrictCourt,C.D.
       CaliforniaJudge R.Gary Klausner-FederalCourt-255 EastTem ple Street-LosAngeles,CA
       90012
    16.Aharonv.ChineseCommunistParty(9:20-cv-80604)DistrictCourt,S.D.FloridaJudgeRoyK.
       Altm an FederalCourt-299 EastBroward Blvd.-FortLauderdale,FI.33301
    17.Smithv.ChineseCommunistParty(2:20-cv-01958)DistrictCourt,E.D.PennsylvaniaJudgeAnita
       B.Brody FederalCourt-601 M arketStreet-Philadelphia,PA 19106
    18.UnitedStatesv.FLYNN (1:17-cr-00232)DistrictCourt,DistrictofColumbiaJudgeJohnGleeson
       Debevoise& Plim pton LLP-919Third Avenue -New York,New York 10022
    19.UnitedStatesv.FLYNN (1:17-cr-00232)DistrictCourt,DistrictofColumbiaAttorneyBeth
       W ilkinson -2001 M StreetN.W .-10th Floor-W ashington,D.C.20036
    20.UnitedStatesv.Manning(1:19-dm-00012)DistrictCourt,E.D.VirginiaJudgeAnthonyJohn
       Trenga FederalCourt-401 Courthouse Square -Alexandria,VA 22314
   21.UnitedStatesv.Snowden(1:19-cv-01197)DistrictCourt,E.D.VirginiaJudge Liam O'Grady
       FederalCourt-401 Courthouse Square -Alexandria,VA 22314
   22.UnitedStatesv.Snowden(1:13-cr-265))DistrictCourt,E.D.VirginiaSeniorJudgeClaudeM .
       Hilton FederalCourt-401 Courthouse Square -Alexandria,VA 22314
   23.United Statesv.W inner(1:17-cr-00034)DistrictCourt,S.D.GeorgiaJudgeJamesRandalHall
       FederalCourt-600 Jam esBrow n Blvd.-Augusta,GA 30901
   24.United Statesv.Assange(1:18-cr-00111)DistrictCourt E.D.VirginiaSeniorJudgeClaudeM.
       Hilton FederalCourt-401 Courthouse Square -Alexandria,VA 22314
   25.lnre:MichaelFlynn(20-5143)CourtofAppealsfortheD.C.CircuitClerkMarkLangerU.S.
       AppealsCourtD.C.-333 ConstitutionAve.N.W .-W ashington D.C.20001

Godspeed

Sincerely

Dav An w Ch '
Box9063
M iram arBeach,Florida 32550
504-715-3086
davidandrewchristenson@ gmail.com ;
dchristenson6@ hotmail.com ;

                                      CERTIFICATEOFSERVICE

        Ihereby certifythaton M ay , 0 lfiId th ore in with the ClerkofCourtand
              served the pleadi o al un o           - ' nd Ir Iassmail.


                         z            David Andrew Christenson
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   The Suprem e Court M urdered
                                    M ankind
                           W rit 14-100 77
                       The Katrina V irus
    By D avid A ndrew Christenso n
                                        Novem ber8tb# 2015

  The United Statesdeveloped the perfectm ilitary weapon.Thisweaponwasorganic,easy to disperse,
 dissipated infive daysand the resultwasthe opposing arm ycom m itting suicide.Thisweaponcontained
          a derivative ofthe KatrinaVirusand was negligently released during Hurricane Katrina.

       TheSupreme Courthascovered up the release andthe im pendingGenocide ofM ankind.

                       They classified me asaterroristfortrying to inform you.

 October12th,2050 isMankind'sfinalday.CauseofdeathwillbesuiciderelatedtotheKatrinaVirus(A
                                     compilationterm).

                          Mankind'simmunesystemts)isbeingdestroyed.

    The num berone cause ofdeath w illbe relatedto the respiratorysystem,i.e.flu,pneum onia,etc.

                         Suicideswillsurpassbirthsbetween now and then.

  Theworldwillnotbeableto supportthefinancial(medical)costsassociatedwiththedestructionof
                               Mankind'simmunesystemts).
Case 1:20-cv-21108-UU Document 33 Entered on FLSD Docket 06/01/2020 Page 5 of 6



                               The Supreme CourtM urdered M ankind
                                           W rit14-10077
                                         The Katrina Virus
                                    By David Andrew Christenson

                                                Index

 ThisisDOCUM ENTATION forthe Genocideand the Crim esAgainstHum anity thatwasand isbeing
 comm itted bythe Suprem e CourtagainstM ankind.

 Ori
   ginaldocumentation received from the Supreme Courtisincluded in the second book:''The Supreme
 CourtM urdered M ankind OriginalDocum entation from the Suprem e Court''and willbe identified as
 ODSCBook2(ODSC Book2)

 Do notdoubtw hatyou are aboutto read asaIlofitisfactualand verifiable.

 Please do notjudge me asthemessenger.Pleasejudgethemessage,incoherentanddisjointedasitmay
 be.lam a FederalW histleblowerw ho neverreceived any training oreducation on how to prevail.ldid
 the bestIcould,considering Iwasfighting a corruptsystem thathad no use forthe Constitution and the
 factthatIhad no m oneyand no supportfrom anyone and thatincludesthose people thathad an
 ethical,m oraland legalobligation to help m e and m ankind.lreached outto over100 Iaw firmsand Iaw
 schoolsaswellasW histleblowernon-profits.

 The originalW rit14-10077 Extraordinary W ritw ith W ritofProhibition and W ritofM andam uswas
 stolen from m y hom e afteritwasdocketed by the Supreme Court.Ibelieve the FBlisresponsible forthe
 theftasitwasthe onlyitem taken.Ihavetried to duplicatethe originalW ritasbestIcould.Duplication
 ofthe W ritbecame even more com plicated when M icrosoftcl   osed my primary emailaccounton behalf
 oftheDepartmentofJustice.Iused davidandrewchristensontatlhotmail.com foraIIofmyIegalnotices
 and forstorage.The FBIdestroyed three ofmy computersand aIlofmy backups.lthoughtthe 'Cloud''
 would be safe.The Suprem e Courtrefused to provide me with a copyofthe originalW rit.ClerksJeffrey
 Atkins202-479-3263,ChrisVasil202-479-3027 and ScottHarris202-479-3000,etc.refused to provide
 mewi thacopyafterrepeatedwrittenandverbalrequests.(AIIattachmentshavenotbeenincluded
 becauseofspaceandfinancialIimitations.)

 Please reference United StatesCourtofAppealsforthe DistrictofColum bia Circuit:14-5207 Larry Elliot
 Klayman v.BarackHussein Obama and 14-5212 Rand Paulv.BarackHussein Obama.There issubstantial
 documentation,over100 unansw ered pleadings,inthe two appealsthatare available on Iine and via
 Pacer.The criticalom issionfrom thedockets,even when the courtordered,isthatthe Departm entof
 Justiceneverfiledanyresponse,objection,pleading,memorandum,motion,etc.andyettheappeals
 weredismissed.IfiledforSummaryJudgement.Ifileda motiontojoin/intervene in b0thclassaction
 com plaintsthatwere filed on behalfofthe Am erican People because lhad cause and standing.The two
 originalclassaction com plaintswere filed inthe DistrictofColumbia DistrictCourt.
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                      Case 1:20-cv-21108-UU Document 33 Entered on FLSD Docket 06/01/2020 Page 6 of 6



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